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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


  Kenneth Peterson, Richard Kimble,                    Case No. 19-cv-1129 (JRT/HB)
  Sharon Dawson-Green, Lisa Melegari,
  Cindy Abernathy, Andrew Cohen,
  Marcelo Lopez, Tanya Lewis, Nicole
  Gutierrez, Sharon Killmon, Karen
  Carter, Charlie Morgan, Brent                  ORDER GRANTING MOTION OF
  Rasmussen, April O’Connor, Kent                CONSUMER INDIRECT
  Winchester, Brenda King, Chong Lor,            PURCHASER PLAINTIFFS TO
  Michelle Oversen, and William Gee,             APPOINT INTERIM CO-LEAD
                                                 CLASS COUNSEL
                       Plaintiffs,

  v.

  JBS USA Food Company Holdings;
  Tyson Foods, Inc.; Cargill, Inc.; and
  National Beef Packing Company;

                       Defendants.



       Now before the Court is the Motion of Consumer Indirect Purchaser Plaintiffs to

Appoint Interim Co-Lead Class Counsel (ECF No. 55).

       This motion relates to a set of antitrust cases alleging that Defendants conspired to

fix and maintain prices in the beef market in violation of the federal antitrust laws.

       The Court concludes that interim co-lead counsel for Consumer Indirect Purchaser

Plaintiffs (“Consumer IPPs”) should be appointed in order to achieve efficiency and
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economy in what is likely to be expensive and complicated litigation, while not

jeopardizing fairness to the parties. 1

       IPPs’ counsel has moved the Court to appoint the law firms of Lockridge Grindal

Nauen P.L.L.P. and Hagens Berman Sobol Shapiro LLP as interim co-lead class counsel.

The Court has carefully reviewed the motion and its accompanying submissions, and has

also considered the factors outlined in Rule 23(g) of the Federal Rules of Civil Procedure.

The parties’ submission demonstrates that Lockridge Grindal Nauen P.L.L.P. and Hagens

Berman Sobol Shapiro LLP satisfy the requirements of Rule 23(g). This includes the

work counsel has done in identifying or investigating potential claims in the action;

counsel's experience in handling class actions, other complex litigation, and the types of

claims asserted in the action; counsel’s knowledge of the applicable law; and the

resources that counsel will commit to representing the class.

       IT IS HEREBY ORDERED:

       1. For the foregoing reasons, the Motion of Consumer Indirect Purchaser Plaintiffs

to Appoint Interim Co-Lead Class Counsel (Doc. No. 55) is GRANTED. Lockridge

Grindal Nauen P.L.L.P. and Hagens Berman Sobol Shapiro LLP are appointed interim

co-lead class counsel for IPPs under Fed. R. Civ. P. 23(g) (“Consumer IPP Interim Co-

Lead Counsel”).



1
 This motion for appointment of lead counsel pertains only to the Indirect Purchaser
Plaintiff action. It does not pertain to the consolidated Cattle Actions identified in the
Court’s July 10, 2019 Case Management Order in In re Cattle Antitrust Litigation, No.
19-cv-1222-JRT-HB [ECF No. 88].
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2. The duties of Consumer IPP Interim Co-Lead Counsel will include:

   a. To determine and present (in briefs, oral argument, or such other fashion as

      may be appropriate, personally or by a designee) to the Court and opposing

      parties the position of Consumer IPPs on all matters arising from pretrial

      proceedings;

   b. To coordinate the initiation and conduct of discovery on behalf of

      Consumer IPPs consistent with the requirements of Fed. R. Civ. P.

      26(b)(1), 26(b)(2), and 26(g), including the preparation of joint

      interrogatories and requests for production of documents and the

      examination of witnesses in depositions;

   c. To conduct settlement negotiations on behalf of Consumer IPPs and any

      proposed Consumer IPP classes, but not enter into binding agreements

      except to the extent authorized by law;

   d. To delegate specific tasks to other counsel in a manner to ensure that

      pretrial preparation is conducted efficiently and effectively;

   e. To enter into stipulations with opposing counsel as necessary for the

      conduct of the litigation;

   f. To prepare and distribute periodic status reports to the parties;

   g. To maintain adequate contemporaneous time and cost records covering

      services as lead counsel and collect such information from Consumer IPPs’

      co-counsel on at least a monthly basis. Lead counsel will provide
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               summaries of such time and cost records for in camera review at the

               Court’s request;

           h. To monitor the activities of co-counsel to ensure that schedules are met and

               unnecessary expenditures of time and funds are avoided; and

           i. To perform such other pretrial duties as may be incidental to the proper

               coordination of pretrial activities or authorized by further order of the

               Court.

       3. In no event shall any document be filed, or any discovery be served, on behalf

of Consumer IPPs without the approval of Consumer IPP Interim Co-Lead Counsel or

leave of Court, and any such filing may be stricken.

       4. To the extent consistent with their duties to the Consumer IPPs and any

proposed Consumer IPP classes, co-lead class counsel for Consumer IPPs also shall

coordinate with Cattle Action counsel and with counsel of other Plaintiffs as appropriate,

and shall coordinate the activities of their respective Plaintiffs during pretrial

proceedings.

       IT IS SO ORDERED.

Dated: August 6, 2019
                                                           s/Hildy Bowbeer
                                                           HILDY BOWBEER
                                                           United States Magistrate Judge
